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United States District Cours

 

Youthern District at Texas
IN THE UNITED STATES BANKRUPTCY COURT ocT 67 2013
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION Revid J, Srecicy, Clock of Comt
In re: )
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HOUSTON REGIONAL SPORTS ) Chapter 11
NETWORK, L.P. )
) Case No. 13-35998
Alleged Debtor. )
)
)
ASTROS’ MOTION TO SEAL

 

Houston Astros, LLC, Astros HRSN GP Holdings LLC, and Astros HRSN LP Holdings
LLC (collectively the “Astros”) hereby move pursuant to 11 U.S.C. § 107(b)(1) and Federal Rule
of Bankruptcy Procedure 9018, for leave to redact confidential commercial information from the
publicly filed version of their Motion to Dismiss the Involuntary Petition, and the supporting
affidavits and exhibits attached thereto. In support hereof, the Astros respectfully state as
follows:

BACKGROUND

1. On September 27, 2013, Houston SportsNet Finance, LLC; Comeast Sports
Management Services, LLC; National Digital Television Center, LLC; and Comcast SportsNet
California, LLC (collectively the “Petitioning Creditors”), filed an Involuntary Petition under
chapter 11 of the Bankruptcy Code against Houston Regional Sports Network, L.P. (the “Alleged
Debtor” or “Network”), Sept. 27, 2013 Involuntary Pet. [Dkt. 1]. The next day, the Petitioning
Creditors filed an Emergency Motion seeking an order to appoint an interim chapter 11 trustee

purportedly “because of a present, debilitating deadlock in the General Partner’s, and hence the
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Network’s, management.” Sept. 28, 2013 Emergency Mot. for Appointment of Interim Chapter
11 Trustee [Dkt. 3] at 1-2.

2. The Astros maintain that the Involuntary Petition is without merit, and that the
Petitioning Creditors, all of which are affiliates of Comcast, filed the Involuntary Petition to
force the Network into bankruptcy in an effort to circumvent the bargained-for terms of the
Limited Partnership Agreement.

3, In response to the Involuntary Petition, the Astros will file a Motion to Dismiss
and supporting affidavits and exhibits which contain the Astros’ sensitive and confidential
commercial information including:

(a) pricing and other terms of the Astros’ Media Rights Agreement with the Network;

(b) pricing and other terms of the Comcast Management Services Agreement;

(c) pricing and other terms of the Comcast Affiliation Agreement;

(d) information relating to the Astros’ business model;

(e) the Network’s operating budget; and

(f) amounts billed for services rendered by National Television Center, LLC (“Comcast
Media”).

4. Accordingly, the Astros request that the Court authorize, pursuant to Section
107(b) of the Bankruptcy Code and Bankruptcy Rule 9018, confidential treatment for the
commercially sensitive information in the Astros’ Motion to Dismiss and supporting affidavits
and exhibits attached thereto. In particular, the Astros’ respectfully seek to redact the items

highlighted in yellow in the Astros’ Motion to Dismiss and the October 7, 2013 Declaration of

Margaret Barradas, as well as to seal the following exhibits:
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5.

Exhibit 2: Excerpts to the Second Amended and Restated Limited Liability Company
Agreement of Houston Regional Sports Network, LLC (“General Partner
Agreement’’);

Exhibit 3: Excerpts to the Amended and Restated Media Rights License Agreement
by and between Houston McLane Company, LLC and the Network (the “Astros’
Media Rights Agreement”);

Exhibit 7: The September 24, 2013 Weekly Aging Report;

Exhibit 8: Excerpts to the Comcast Network Services Agreement by and between
Comcast Sports Management Services, LLC and the Network (the “Comcast
Management Services Agreement’); and

Exhibit 10: Excerpts to the Second Amended and Restated Agreement of Limited

Partnership of Houston Regional Sports Network, L.P. (“Limited Partnership

Agreement”).

Section 107(b) of the Bankruptcy Code authorizes the Court to issue orders to

protect entities from potential harm caused by the disclosure of confidential or sensitive

commercial information. See, e.g., In re Faucett, 438 B.R. 564, 568-69, 571 n.3 (Bankr. W.D.

Tex, 2010) (sealing confidential commercial information under Section 107). Specifically,

Section 107(b) provides:

On request of a party in interest, the bankruptcy court shall, and on the bankruptcy
court’s own motion, the bankruptcy court may — (1) protect an entity with respect to
a trade secret or confidential research, development, or commercial information... .

11 U.S.C. § 107(b).

6.

Bankruptcy Rule 9018 sets forth the procedures by which a party may move for

relief under Section 107(b) and states:
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On motion or on its own initiative, with or without notice, the court may

make any order which justice requires . . . to protect the estate or any entity

in respect of a trade secret or other confidential research, development, or

commercial information ....
Fed. R. Bankr. P. 9018. The purpose of Section 107 and Bankruptcy Rule 9018 is to protect
“business entities from disclosure of information that could reasonably be expected to cause the
entity commercial injury.” Jn re Global Crossing Ltd., 295 B.R. 720, 725 (Bankr. S.D.N.Y.
2003).

7. The confidential information that the Astros seek to file under seal includes

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“commercial information,” the disclosure of which “‘would cause an unfair advantage to
competitors by providing them information as to the commercial operations of the debtor.’” Jn
re Northstar Energy, Inc., 315 B.R. 425, 428-29 (Bankr. E.D. Tex. 2004) (quoting Jn re Orion
Pictures Corp., 21 F.3d 24, 27 (2d Cir. 1994)). Disclosure of this information would provide an
unfair advantage to competitors, and cause financial harm not only to the Astros, but also the
other parties involved in this litigation. Moreover, the disclosure of such information serves no
public purpose.

8. While the Astros are committed to the principle that this judicial proceeding, like
any other, should be largely open to the public and on the public record, it is entirely appropriate
for the Court to seal documents containing expressly confidential and sensitive commercial

information.

CONCLUSION

For the foregoing reasons, the Astros respectfully request that this Court enter an order

granting the relief requested herein and any other relief that the Court may deem appropriate.
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Dated: October 7, 2013

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CERTIFICATE OF SERVICE

I hereby certify that a true and accurate copy of the foregoing Astros’ Motion to Seal was

filed electronically on this 7th day of October 2013. Notice of this filing will be sent to, and can

be accessed by, all parties via the Court’s electronic filing system.

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